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                                                                          8                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         11   NUANCE COMMUNICATIONS, INC,
United States District Court
                               For the Northern District of California




                                                                         12                  Plaintiff,                                 No. C 08-02912 JSW
                                                                         13     v.
                                                                         14   ABBYY SOFTWARE HOUSE, ET AL.,                             ORDER RE MOTION TO
                                                                                                                                        ENFORCE COURT’S ORDER RE
                                                                         15                  Defendants.                                JURISDICTIONAL DISCOVERY
                                                                         16   AND ALL RELATED CASES.
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                                                                         18          Now before the Court is a submission dated January 10, 2011 from Defendants entitled
                                                                         19   motion to enforce Court’s order regarding jurisdictional discovery. The Court requires that in
                                                                         20   the future, all discovery disputes be handled by the assigned Magistrate Judge responsible for
                                                                         21   adjudicating discovery. Further, the Court requires strict compliance with its standing orders on
                                                                         22   the resolution of any dispute presented by the parties. The submission should have been made
                                                                         23   jointly after the parties met and conferred in good faith to resolve their dispute. The parties are
                                                                         24   admonished that the Court shall not entertain such motions in the future without compliance
                                                                         25   with the Court’s standing order re discovery. In the future, such conduct shall result in
                                                                         26   sanctions.
                                                                         27          Regardless, it is clear that the parties require immediate Court intervention and explicit
                                                                         28   parameters for their conduct within a limited period of time allotted by the Court for
                                                                              jurisdictional discovery. On January 21, 2011, during a specially-set case management
                                                                                 Case 3:08-cv-02912-JSW Document 260 Filed 02/11/11 Page 2 of 3



                                                                          1   conference, this Court entered an order permitting limited discovery regarding whether this
                                                                          2   Court may assert personal jurisdiction over Abbyy Software, Ltd. The Court permitted the
                                                                          3   limited discovery in conformity with the Federal Circuit’s opinion reversing this Court’s
                                                                          4   dismissal of Abbyy Production LLC, residing in Russian Federation, and Abbyy Software, Ltd.,
                                                                          5   residing in the Republic of Cyprus. As to Abbyy Software, the Circuit court vacated the
                                                                          6   judgment and remanded to this Court to allow Nuance to take jurisdictional discovery.
                                                                          7              In the case management conference, the Court explicitly permitted Nuance
                                                                          8   Communications, Inc. to conduct limited discovery to be completed by no later than March 22,
                                                                          9   2011. The Court indicated that it anticipated a fairly straightforward scope of discovery,
                                                                         10   including a deposition under Federal Rule of Civil Procedure 30(b)(6), as well as possibly the
                                                                         11   service of interrogatories. The Court forbade the taking of plenary discovery and admonished
United States District Court
                               For the Northern District of California




                                                                         12   the parties to cooperate in the expedited discovery.
                                                                         13              The scope of the attempted discovery by Nuance exceeds the limited discovery
                                                                         14   permitted by this Court and mandated by the Federal Circuit. Nuance shall be permitted to take
                                                                         15   Federal Rule of Civil Procedure 30(b)(6) depositions of a person or persons proffered by the
                                                                         16   foreign Abbyy Software putative party on the subject of personal jurisdiction. Abbyy Software
                                                                         17   must designate “one or more officers, directors, or managing agents, or designate other persons
                                                                         18   who consent to testify on its behalf ... [t]he persons designated must testify about information
                                                                         19   known or reasonably available to the organization.” Fed. R. Civ. P. 30(b)(6). Nuance may also
                                                                         20   serve up to 25 written interrogatories in compliance with Federal Rule of Civil Procedure 33.1
                                                                         21              Lastly, the parties shall meet and confer in person and seek joint permission of the Court
                                                                         22   to address any remaining disputes in the future. The Court has expended substantial resources
                                                                         23   of its own, as well as the services of a Magistrate Judge and a Special Master in its attempts to
                                                                         24   resolve the matters presented and focus the parties on resolution of this case on the merits. The
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                                                                                        Nuance’s 28 third-party subpoenas issued in 19 different jurisdictions is beyond the
                                                                         26   scope of permitted limited jurisdictional discovery and such subpoenas are STAYED. In
                                                                              addition, Nuance’s threat to compel requests to inspect the source code served on Abbyy
                                                                         27   Production in May 2009 when they were not a party to this case is premature. Now that
                                                                              Abbyy Production is a party to this matter, they are afforded the same protections, subject to
                                                                         28   the same limitations,
                                                                              as any other party under Federal Rule of Civil Procedure 26.

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                                                                          1   parties must complete the jurisdictional discovery as limited by this Order by no later than
                                                                          2   March 22, 2011.
                                                                          3          The parties are again admonished that failure to cooperate in meeting this deadline will
                                                                          4   result in sanctions ordered against the non-cooperating party.
                                                                          5
                                                                          6          IT IS SO ORDERED.
                                                                          7   Dated: February 11, 2011
                                                                                                                                       JEFFREY S. WHITE
                                                                          8                                                            UNITED STATES DISTRICT JUDGE
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United States District Court
                               For the Northern District of California




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